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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                        §
                                                        §
    In re:                                              §      Chapter 11
                                                        §      Case No. 24-10193
    WELLS SOLAR & ELECTRICAL,                           §
    SERVICES, LLC                                       §
                                                        §
    Debtor

      DEBTOR’S RESPONSE TO MOTION FOR RELIEF FROM AUTOMATIC STAY

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

             COMES NOW Wells Solar & Electrical Services, LLC, Debtor herein, and files this

  Response to Motion for Relief from Automatic Stay and would show the following:

      1. Debtor denies the allegations of para. 1.

      2. Debtor denies the allegations of para. 2.

      3. Debtor admits the allegations of para. 3.

      4. Debtor admits that EnFin made the allegation.

      5. Debtor admits that EnFin made the allegation.

      6. Debtor admits that it is not named as a defendant in the action.

      7. Debtor admits the allegations of para. 7.

      8. Debtor denies the allegations of para. 8. That is not a fair reading of rhe complaint.

             Paragraphs 18-30 all refer to misrepresentations by Wells Solar or Defendants and their

             employees. There are not any allegations of specific misrepresentations made by Carl

             Wells or Ferrin Deloach. Immediately prior to para. 40, there is a heading titled “Wells

             Solar and the Defendants’ Alter-Ego Relationship.” Para. 55 states “Accordingly the

             corporate veil should be pierced and the Defendants are liable for any judgments owed by
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        Wells Solar, and vice versa, as a matter of equity.” The subsequent paragraphs refer to

        actions by “Defendants.” However, there are no specific allegations as to anything done

        by either Defendant. Instead, the factual background only refers to actions by Wells

        Solar. This is particularly true with regard to para. 84 which alleges that EnFin conferred

        a benefit of $769,811.14 on the Defendants, when para. 25 refers to payments made to

        Wells Solar of approximately $770,000. The only specific allegation related to either

        individual is one phone call that someone at EnFin had with Ferrin Deloach after the fact.

        (See para. 26-27).

     9. Debtor lacks information sufficient to admit or deny the allegations of para. 9.

     10. Debtor lacks information sufficient to admit or deny the allegations of para. 10.

     11. Debtor denies the allegations of para. 11.

     12. Debtor denies the allegations of para. 12.

     13. Debtor denies the allegations of para. 13.

     14. Debtor denies the allegations of para. 14.

     15. Debtor denies the allegations of para. 15.

     16. Debtor denies the allegations of para. 16.

     17. Debtor denies the allegations of para. 17. Any time that Debtor’s principals have to spend

        responding to lawsuits is time that they are not attending to the business of Wells Solar.

     18. Debtor denies the allegations of para. 18.

     19. Debtor denies the allegations of para. 19.

     20. Debtor denies the allegations of para. 20.

     21. Debtor denies the allegations of para. 21.EnFin seeks to take a claim which belongs to the

        bankruptcy estate and take that claim for its own benefit. The direct harm vs. indirect
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        harm test does not apply. The Complaint does not describe any wrongdoing committed

        by either Defendant. Instead, it refers to harm caused by the Debtor. Movant is clearly

        attempting to pursue Debtor’s principals for a claim against the Debtor.

     22. Debtor admits that it has no sought to pursue claims against Carl Wells or Ferrin

        Deloach.

     23. Debtor denies the allegations of para. 23.

     24. Debtor denies the allegations of para. 24.

     25. Debtor denies the allegations of para. 25. EnFin clearly did not bring “narrowly focused

        claims based on strong evidence of fraud.”

     26. Debtor denies the allegations of para. 26.

     27. Debtor denies the allegations of para. 27. The bankruptcy was not filed or timed to

        prevent EnFin from suing Carl Wells and Ferrin Deloach.

     28. Debtor denies the allegations of para. 28.

     29. Debtor denies the allegations of para. 29.



                                               Respectfully Submitted,

                                               BARRON & NEWBURGER, P.C.
                                               7320 N. Mopac Expy, Suite 400
                                               Austin, Texas 78731
                                               (866) 476-9103

                                               /s/ Stephen Sather
                                               Stephen Sather
                                               State Bar No 17657520
                                               ATTORNEY FOR DEBTOR
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                                CERTIFICATE OF SERVICE

           I certify that a copy of the foregoing Response was served by first class mail, postage
  prepaid and properly addressed, on May 22, 2024 to all parties listed on the attached Service
  List, to the persons listed below by email and electronically by the Court’s ECF system to all
  parties registered to receive such service.



                                                       /s/ Stephen Sather_____
                                                       Stephen Sather
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                                 Wells Solar & Electrical Services, LLC 24-10193
                                              Limited Service List


  Cloudfund LLC (Delta)                  Vanguard Lease Co.                    John Pohlman
  400 Rella Blvd. 165-101                14100 Inwood Road                     10730 Rose Bud Court
  Suffern, NY 10901                      Dallas, TX 75244                      McKinney, TX 75072

  DE LAGE LANDEN                         Sunnova Energy Corporation            Ruben Fernandez
  Financial Cervices, Inc.               20 Greenway Plaza, Suite 540          261 Cascade Trail
  5046 Mainway Unit 1                    Houston, TX 77046                     Castroville, TX 78009
  Burlington, ON L7L 5Z1,
  Canada                                 American Express                      Scott Dorf
                                         P.O. Box 570622                       6506 Halsey Court
  First Citizen Bank                     Atlanta, GA 30357                     Austin, TX 78739
  155 Commerce Way
  Portsmouth, NH 03801-3243              Cons. Elec. Distributors, Inc.        Sean Khorram
                                         1033 Meister Lane, Suite 600          7602 Buck Meadow Drive
  KUBOTA CREDIT                          Pﬂugerville, TX 78660                 Georgetown, TX 78628
  CORPORATION, USA
  P.O. Box 2046                          Intuit                                Solar Mosaic LLC
  Grapevine, TX 76099                    2800 E. Commerce Center               601 12th Street, Suite 325
                                         Place                                 Oakland, CA 94607
  Retail Capital LLC (Credibly           Tucson, AZ 85706
  Credibly 25200 Telegraph                                                     Mary Puryear
  Road, Suit 350                         Wells Fargo Commercial                11109 Sea Hero Lane
  Southﬁeld, MI 48033                    Banking                               Austin, TX 78748
                                         600 S 4th Street, Floor 13
  South Arlington Industrial,            Minneapolis, MN 55415-1526            Capital One
  LLC                                                                          P.O. Box 60519
  c/o Natalie Overbey                    Quick Rooﬁng LLC                      City of Industry, CA 91716-
  1301 W 7th Street, Suite 141           925 E Kennedale Pkwy                  0519
  Fort Worth, TX 76102                   Kennedale, TX 76060
                                                                               Internal Revenue Service
  US SBA Loan                            Annie Nelson                          Centralized Insolvency Office
  Little Rock Commercial Loan            1100 Bee Creek Road                   P.O. Box 7346
  Servicing Center                       Spicewood, TX 78669                   Philadelphia, PA 19101-7346
  2120 Riverfront Drive, Suite
  100                                    Anna Allen & Allen                    Texas Comptroller
  Little Rock, AR 72202                  Vanlandingham                         Bankruptcy Section
                                         17887 FM 56                           P.O. Box 13528
  EnFin/Qcells                           Kopperl, TX 76652                     Austin, TX 78711
  c/o Parsons Behile & Latimer
  201 South Main Street, Suite           Jane Greenberg                        Gary W. Wright
  1800                                   2237 Quenby Street                    DOJ-UST
  Salt Lake City, UT 84111               Houston, TX 77005                     United States Trustee’s Office
                                                                               903 San Jacinto Blvd., Suite 230
  Rexel                                  Tom Mustaine                          Austin, TX 78701
  Attn: Credit Department                42 Vanguard Way
  P.O. Box 766                           Dallas, TX 75243
  Addison, TX 75001-0766
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                                 Houston, TX 77002
